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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

JOAO CONTROL & MONITORING        §
SYSTEMS OF TEXAS, LLC,           §
                                 §
       Plaintiff,                §                   Civil Action No. 6:09-cv-00499-LED
                                 §
v.                               §
                                 §                   JURY TRIAL DEMANDED
PLAYBOY ENTERPRISES INC.,        §
PENTHOUSE MEDIA GROUP, INC.      §
N/K/A FRIENDFINDER NETWORKS,     §
INC., LFP INTERNET GROUP, LLC,   §
STREAMRAY INC., WOO MEDIA,       §
INC., VIVID ENTERTAINMENT, LLC, §
CLUB JENNA, INC., ANABOLIC VIDEO §
PRODUCTIONS, INC., GAME LINK,    §
LLC, EVIL ANGEL PRODUCTIONS,     §
INC., NEW DESTINY INTERNET       §
GROUP, LLC, AND SHANE            §
ENTERPRISES, LLC ,               §
                                 §
       Defendants.               §


                       ORDER OF DISMISSAL WITH PREJUDICE

       In consideration of the parties’ Stipulated Motion for Dismissal of all claims and

counterclaims with prejudice asserted between Plaintiff Joao Control & Monitoring Systems of

Texas, LLC and Defendant Playboy Enterprises Inc., the Stipulated Motion for Dismissal is

GRANTED, and it is ORDERED, ADJUDGED AND DECREED that all claims and

counterclaims asserted in this suit between Plaintiff and Defendant are hereby dismissed with

prejudice, subject to the terms of that certain agreement entitled “PATENT LICENSE AND

SETTLEMENT AGREEMENT” dated July 20, 2010.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.
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       So ORDERED and SIGNED this 2nd day of August, 2010.




                         __________________________________
                         LEONARD DAVIS
                         UNITED STATES DISTRICT JUDGE
